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August 29, 2008

Ms. Sharon Wiley, Deputy Clerk
United States Court of Appeals

for the Fourth Circuit
501 United States Court House Annex
1100 East Main Street
Richmond, VA 23219-3517

RE: United States v. Paulette Martin, et al.
4" Circuit No. 07-4060 (L)

Dear Ms. Wiley:

I submit this letter, in my role as lead counsel, as a supplement to the status report
I previously filed on August 29, 2008, and in follow up to the Order of the Court dated
September 5, 2008. This represents supplemental information provided to me after the filing of
the initial status report.

Appellant Lavon Dobie (Alan DuBois, Esq.): I am further advised by counsel that the
following transcripts have been ordered, and have not yet been received, for the noted dates.
Jan. 23, 2006
June 13, 14, 15, 16, 20, 21, 22, 23, 27, 28, 29, 30, 2006
July 11, 12, 18, 2006
August 1, 8, 9, 17, 18, 29, 2006
22 days total

Appellant Derrick Bynum (Timothy Mitchell, Esq.): I am advised by counsel that the
following transcripts have been ordered, and have not yet been received, for the noted dates.
Jan, 23, 2006
June 6, 7, 9, 13, 15, 16, 21, 22, 23, 27, 2006
July 1, 2, 18, 19, 24, 25, 2006
August 1, 9, 10, 11, 16, 17, 18, 29, 30, 31, 2006
November 21, 2006
January 9, 2007
29 days total
Ms. Sharon Wiley, Deputy Clerk
September 8, 2008
page 2

I have been provided no further information than what is set forth above.

In addition, I have received an additional transcript, that for August 8, 2006, since
the initial status report.

Very truly yours,

Michael D. Montemarano
MDM/ap

cc: all listed counsel, via emaii
